19-24145-rdd          Doc 41       Filed 04/06/20 Entered 04/06/20 16:57:41     Main Document
                                                Pg 1 of 2

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
In re:                                                             Chapter 11

TRIAX CAPITAL ADVISORS, LLC,                                  Case No. 19-24145(RDD)

                                      Debtor.
----------------------------------------------------------x

                 ORDER DIRECTING THE PRODUCTION OF DOCUMENTS BY
                          AND EXAMINATION OF THE DEBTOR
                AND JOSEPH E. SARACHEK, UNDER FED. R. BANKR. P. 2004

         Upon the motion, by notice of presentment dated March 22, 2020 (the “Motion”), of
Principal Land, LLC (“Principal Land”) seeking an order pursuant to Fed. R. Bankr. P. 2004
directing the production of documents by, and the examination of, the debtor and debtor in
possession herein (the “Debtor”) and the Debtor’s principal, Joseph E. Sarachek
(“Sarachek”); and there being no objections to the requested relief; and no additional notice
being required except as set forth herein; and, after due deliberation, the Court having
determined that the Motion establishes sufficient cause for the relief granted herein; now,
therefore, it is hereby
         ORDERED, that the Motion is granted to the extent set forth herein; and it is further
         ORDERED, that the Debtor and Sarachek shall each produce all documents
(including electronically stored information) in their respective possession, custody or
control pertaining to the topics described in paragraphs 3 and 10 of the Motion on or before
April 30, 2020 at 10:00 a.m. at the offices of Principal Land’s counsel, Kurtzman Matera,
P.C., located at 80 Red Schoolhouse Road, Suite 110, Chestnut Ridge, New York 10977;
and Principal Land, through its counsel, is authorized to issue subpoenas therefor under
Fed. R. Bankr. P. 2004(c); and it is further
         ORDERED, that the Debtor, by a person with knowledge, and Sarachek shall appear
at the offices of Kurtzman Matera, P.C., located at 80 Red Schoolhouse Road, Suite 110,
Chestnut Ridge, New York 10977 for an examination under oath in compliance with Fed. R.
Bankr. P. 2004 at a date and time to be agreed by the parties between May 11, 2020 and
June 30, 2020, subject to any limitation on in-person contacts then required, in which case
such examinations shall be conducted remotely; and Principal Land, through its counsel, is
authorized to issue subpoenas therefor under Fed. R. Bankr. P. 2004(c); and it is further
         ORDERED that the foregoing is subject to the assertion of any applicable privilege;
provided that if a document required to be produced hereby is withheld on the basis of
19-24145-rdd     Doc 41    Filed 04/06/20 Entered 04/06/20 16:57:41         Main Document
                                        Pg 2 of 2



privilege the party asserting such privilege shall produce a proper privilege log a the time
and place of production hereunder; and it is further
       ORDERED, that on or before April 10, 2020, Principal Land shall serve a copy of this
Order, the Motion and the subpoenas on the Debtor, by its counsel, and Sarachek,
including by email where available, and such shall constitute good and sufficient service
and notice hereof.


Dated: White Plains, New York
       April 6, 2020

                                           /s/Robert D. Drain
                                           Hon. Robert D. Drain
                                           United States Bankruptcy Judge




                                              2
